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                        EXHIBIT 19
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                                                   U.S. Patent No. 7 7490 7155

             Issued Claim 1                                                         Identification
1[pre]. A method for controlling a media   T-Mobile Defendants operate an IP Multimedia Subsystem (IMS)
session having at least two transactions
compnsmg:                                  To the extent the preamble is limiting, IMS mobile origination, for example, practices a method
                                           for controlling a media session having at least two transactions:

                                           "4.6.1 Proxy-CSCF

                                           The Proxy-CSCF (P-CSCF) is the first contact point within the IM CN subsystem . Its address is
                                           discovered by UEs using the mechanism described in the clause "Procedures related to Local
                                           CSCF Discove1y" . The P-CSCF behaves like a Proxy (as defmed in IETF RFC 3261 [12] or
                                           subsequent versions), i.e. it accepts requests and services them internally or forwards them on.
                                           The P-CSCF shall not modify the Request URI in the SIP INVITE message. The P-CSCF may
                                           behave as a User Agent (as defmed in the IETF RFC 3261 [12] or subsequent versions), i.e. in
                                           abnonnal conditions it may terminate and independently generate SIP transactions."

                                           3GPP TS 23.228 V18.0.0 (2022-1 2) p. 49.




                                                             Page 1
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                      5.6.2         (M0# 2) Mobile origination, home
                      This origination procedure applies to users located in their home service area.

                      The UE is located in the home network, and determines the P-CSCF via the CSCF discovery procedure described in
                      clause 5.1.1. During registration, the home network allocates an S-CSCF in the home network.

                      When registration is complete, P-CSCF knows the name/address of S-CSCF.

                                                                 Originating Home Network                               Terminating
                                                                                                                         Network
                                                   UE                   P-CSCF                 S-CSCF

                                                      1. Invite Initial SOP • tier)

                                                                              2. Invite Initial SOP




                                                                                                                Initial S P Offer)

                                                                                                       . Offer Res   nse




                                                    esource
                                               Reservation

                                                                                                      12. Response Co f (Opt SOP)

                                                                                                      13. Conf Ack O I SOP)

                                                                              14. Conf Ack O t SD




                                                                                                      18. Reservation    onf

                                                                                                      19. Reservation Conf


                                                                                                      . 2. Ring1ng   __ _


                                                                                                       6. 200 OK
                                           1-----

                                           l _~~ ~~rt User

                                             30. Start Media

                                                      31 . ACK
                                                                              32. ACK
                                                                                                      33. ACK



                                                      Figure 5.15: Mobile origination procedure - home




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Issued Claim 1                                                    Identification
                        "Procedure M0#2 is as follows:

                        1. UE#l sends the SIP INVITE request, containing an initial SDP, to the P-CSCF detennined
                        via the CSCF discove1y mechanism. The initial SDP may represent one or more media for a
                        multi-media session.

                        2. P-CSCF remembers (from the registration procedure) the next hop CSCF for this UE. In this
                        case it fo1wards the INVITE to the S-CSCF in the home network.

                        P-CSCF detennines whether the INVITE message requires priority handling based on user
                        profile stored during the registration procedure and/or the priority requested by the user and/or
                        MPS code/identifier included in the INVITE message. If the session is detennined to require
                        priority handling, then P-CSCF inse1is/replaces the priority indication and fo1wards the INVITE
                        to the S-CSCF.

                        3. S-CSCF validates the service profile, if a GRUU is received as the contact, ensures that the
                        Public User Identity of the served user in the request and the Public User Identity associated
                        with the GRUU belong to the same service profile, and invokes any origination service logic
                        required for this user. This includes authorization of the requested SDP based on the user's
                        subscription for multi-media services. If the Request URI contains the SIP representation of an
                        E.164 address then the procedure specified in clause 4.3.5.3 applies.

                        4. S-CSCF fo1wards the request, as specified by the S-S procedures. When the INVITE message
                        includes priority indication, the S-CSCF fo1wards the INVITE, including the Service User's
                        priority level if available.

                        5. The media stream capabilities of the destination are returned along the signalling path, per the
                        S-S procedures.

                        6. S-CSCF fo1wards the Offer Response message to P-CSCF.

                        7. P-CSCF instructs the PCRF/PCF to authorize the resources necessaiy for this session.


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Issued Claim 1                                                    Identification

                        8. P-CSCF fo1wards the Offer Response message to the originating endpoint.

                        9. UE decides the offered set of media streams for this session, confinns receipt of the Offer
                        Response and sends the Response Confnmation to P-CSCF. The Response Confmnation may
                        also contain SDP. This may be the same SDP as in the Offer Response received in Step 8 or a
                        subset. If new media are defined by this SDP, a new authorization (as in Step 7) will be done
                        following Step 14. The originating UE is free to continue to offer new media on this operation
                        or on subsequent exchanges using the Update method. Each offer/answer exchange will cause
                        the P-CSCF to repeat the Step 7 again.

                        10. Depending on the bearer establishment m ode selected for the IP-CAN session, resource
                        reservation shall be initiated either by the UE or by the IP-CAN itself. The UE initiates resource
                        reservation procedures for the offered media as shown in Figure 5.15. Othe1wise, the IP-CAN
                        initiates the reservation ofrequired resources after step 7.

                        11. P-CSCF fo1wards this message to S-CSCF.

                        12. S-CSCF fo1wards this message to the te1minating endpoint, as per the S-S procedure.

                        13-14. The te1minating end point responds to the originating end with an acknowledgement. If
                        Optional SDP is

                        contained in the Response Confnmation, the Confnmation Acknowledge will also contain an
                        SDP response. If the SDP has changed, the PCSCF authorizes the media.

                        15. PCSCF fo1wards the answered media towards the UE.

                        16-18. When the resource reservation is completed, UE sends the successful Resource
                        Reservation message to the tenninating endpoint, via the signalling path established by the
                        INVITE message. The message is sent first to P-CSCF.



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             Issued Claim 1                                                           Identification
                                           19-21. The terminating end point responds to the originating end when successful resource
                                           reservation has occmTed.

                                           If the SDP has changed, the P-CSCF again authorizes that the resources are allowed to be used.

                                           22-24. The destination UE may optionally perfo1m ale1i ing. If so, it signals this to the
                                           originating paiiy by a

                                           provisional response indicating Ringing. This message is sent to S-CSCF per the S-S procedure.
                                           It is sent from there toward the originating end along the signalling path.

                                           25. UE indicates to the originating user that the destination is ringing.

                                           26-27. When the destination paiiy answers, the tenninating endpoint sends a SIP 200-OK final
                                           response along the signalling path to the originating end, as specified by the te1mination
                                           procedures and the S-S procedures, to S-CSCF.

                                           28. P-CSCF indicates that the media flows authorized for this session should now be enabled.

                                           29. P-CSCF passes the 200-OK response back to UE.

                                           30. UE staiis the media flow(s) for this session.

                                           31-33. UE responds to the 200 OK with an ACK message which is sent to P-CSCF and passed
                                           along the signalling path to the te1minating end."

                                           3GPP TS 23.228 V18.0.0 (2022-12) oo. 120-1 22.
[ 1a] receiving a first message from an    Receiving a first message from an end user device at an application server to initiate a media
end user device at an application server   session takes place, for example, in steps 1-3:
to initiate a media session;




                                                              Page 5
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             Issued Claim 1                                                           Identification
                                            " I. UE# l sends the SIP INVITE request, containing an initial SDP, to the P-CSCF dete1mined
                                            via the CSCF discove1y mechanism. The initial SDP may represent one or more media for a
                                            multi-media session.

                                            2. P-CSCF remembers (from the registration procedure) the next hop CSCF for this UE. In this
                                            case it fo1wards the INVITE to the S-CSCF in the home network.

                                            3. S-CSCF validates the service profile, if a GRUU is received as the contact, ensures that the
                                            Public User Identity of the served user in the request and the Public User Identity associated
                                            with the GRUU belong to the same service profile, aud invokes auy origination service logic
                                            required for this user. This includes authorization of the requested SDP based on the user's
                                            subscription for multi-media services. If the Request URI contains the SIP representation of au
                                            E. 164 address then the procedure specified in clause 4.3.5.3 applies."

                                            The first message is, for example, the "INVITE message" as defined by the standard.

f1bl fo1warding the first message from      Fo1warding the first message from the application server to a media server takes place, for
the application server to a media server;   example, in step 4:

                                            "4. S-CSCF fo1wards the request, as specified by the S-S procedures. When the INVITE
                                            message includes priority indication, the S-CSCF fo1wards the INVITE, including the Service
                                            User's priority level if available."


                                            "4.2.4 IP multimedia Subsystem Service Control Interface (ISC)

                                            The ISC interface is between the Serving CSCF and the service platfonn(s) .

                                            An Application Server (AS) offering value added IM se1vices resides either in the user's home
                                            network or in a third party location. The third party could be a network or simply a stand-alone
                                            AS.



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Issued Claim 1                                                     Identification
                        The Serving-CSCF to AS interface is used to provide services residing in an AS. Two cases
                        were identified:

                        - Serving-CSCF to an AS in Home Network.

                        - Serving-CSCF to an AS in External Network (e.g. , Third Party or Visited)

                        The SIP Application Seiv er may host and execute seiv ices. The SIP Application Seiv er can
                        influence and impact the SIP session on behalf of the seiv ices and it uses the ISC interface to
                        communicate with the S-CSCF. The S-CSCF shall be able to supply the AS with infoimation to
                        allow it to execute multiple seiv ices in order within a single SIP transaction.

                        The ISC interface shall be able suppoii subscription to event notifications between the
                        Application Seiver and S-CSCF to allow the Application Seiver to be notified of the implicit
                        registered Public User Identities, registration state and UE capabilities and characteristics in
                        tenns of SIP User Agent capabilities and characteristics.

                        The S-CSCF shall decide whether an Application Seiv er is required to receive infoimation
                        related to an incoming initial SIP request to ensme appropriate seiv ice handling. The decision at
                        the S-CSCF is based on (filter) infoimation received from the HSS. This filter infonnation is
                        stored and conveyed on a per Application Seiver basis for each user. It shall be possible to
                        include a seivice indication in the filter infoimation, which is used to identify seivices and the
                        order that they are executed on an Application Seiver within a single SIP transaction. The
                        name(s)/address(es) infoimation of the Application Seiver (s) are received from the HSS."


                        3GPP TS 23.228 V18.0.0 (2022-12) p. 31.

                        "The purpose of optimal media routing (OMR) is to identify and remove unnecessaiy media
                        functions from the media path for each media stream associated with a session....

                        The OMR procedures have the following additional characteristics:


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              Issued Claim 1                                                          Identification

                                            - They build on the ALG NAT traversal model that is an alternative to the ICE NAT trnversal
                                            model.

                                            - They usually complete within a single end-to-end SDP offer/answer trnnsaction. Some
                                            transcoding scenarios require additional signalling to complete optimisation.

                                            - They apply independently to each media sti·eam established by an SDP offer/answer
                                            ti·ansaction.

                                            - They apply to media sti·eams established between any types of endpoints (e.g. , UEs, media
                                            servers, media gateways)."

                                            3GPP TS 23.228 V18.0.0 (2022-1 2) p. 280.

[le] establishing the media session         Establishing the media session between the end user device and the media server takes place, for
between the end user device and the         example, in steps 1-4 (see [la] and [lb]).
media server;

[Id] initiating a first media transaction   Initiating a first media ti·ansaction between the media server and the end user device via the
between the media server and the end        application server using the media session takes place, for example, in steps 5-8:
user device via the application server
using the media session;                    "5. The media stream capabilities of the destination are returned along the signalling path, per
                                            the S-S procedures.

                                            6. S-CSCF fo1wards the Offer Response message to P-CSCF.

                                            7. P-CSCF instrncts the PCRF/PCF to authorize the resources necessaiy for this session.

                                            8. P-CSCF fo1wai·ds the Offer Response message to the originating endpoint."




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             Issued Claim 1                                                             Identification
[ 1e] conducting the first media              Conducting the first media transaction between the media server and the end user device via the
transaction between the media server and      application server using the media session, the first media transaction being conducted by
the end user device via the application       transmitting a first media stream from the media server to the end user device via the application
server using the media session, the first     server takes place, for example, in steps 5-8 (see [Id]).
media transaction being conducted by
transmitting a first media stream from the    And transmitting a second media stream from the end user device to the media server via the
media server to the end user device via       application server in response to the first media stream takes place, for example, in step 9.
the application server and transmitting a
second media stream from the end user         "9. UE decides the offered set of media streams for this session, confams receipt of the Offer
device to the media server via the            Response and sends the Response Confamation to P-CSCF. The Response Confnmation may
application server in response to the first   also contain SDP. This may be the same SDP as in the Offer Response received in Step 8 or a
media stream;                                 subset. If new media are defined by this SDP, a new authorization (as in Step 7) will be done
                                              following Step 14. The originating UE is free to continue to offer new media on this operation
                                              or on subsequent exchanges using the Update method. Each offer/answer exchange will cause
                                              the P-CSCF to repeat the Step 7 again."

f1fl completing the first media               Completing the first media transaction between the media server and the end user device via the
transaction between the media server and      application server using the media session takes place, for example, in steps 1-9 (see [le]).
the end user device via the application
server using the media session;

[lg] receiving a second message from the      Receiving a second message from the media server at the application server, the second message
media server at the application server, the   indicating that the first media transaction is complete takes place, for example, in steps 5-8:
second message indicating that the first
media transaction is complete;                The second message is, for example, the "Offer Response message" as defined by the standard.

[lh] transmitting a third message from        Transmitting a third message from the application server to the media server to initiate a second
the application server to the media server    media transaction between the media server and the end user device via the application server
to initiate a second media transaction        using the same media session used for the first media transaction takes place, for example, in
between the media server and the end          steps 10-12:
user device via the application server



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             Issued Claim 1                                                             Identification
using the same media session used for         " 10. Depending on the bearer establishment mode selected for the IP-CAN session, resource
the first media transaction;                  reservation shall be initiated either by the UE or by the IP-CAN itself. The UE initiates resource
                                              reservation procedures for the offered media as shown in Figure 5.1 5. Othe1w ise, the IP-CAN
                                              initiates the reservation of required resources after step 7.

                                              11. P-CSCF fo1wards this message to S-CSCF.

                                              12. S-CSCF fo1wards this message to the te1minating endpoint, as per the S-S procedure. "

                                              The third message is, for example, the "Resource Reservation message" as defined by the
                                              standard.

[Ii] conducting the second media              Conducting the second media transaction between the media server and the end user device vi.a
transaction between the media server and      the application server using the same media session used for the first media transaction, the
the end user device vi.a the application      second media transaction being conducted by transmitting a third media stream from the media
server using the same media session used      server to the end user device vi.a the application server takes places in steps 13-15:
for the first media transaction, the second
media transaction being conducted by          " 13-14. The te1minating end point responds to the originating end with an acknowledgement. If
transmitting a third media stream from        Optional SDP is
the media server to the end user device
vi.a the application server and               contained in the Response Confomation, the Confomation Acknowledge will also contain an
transmitting a fourth media stream from       SDP response. If the SDP has changed, the PCSCF authorizes the media.
the end user device to the media server
vi.a the application server in response to    15. PCS CF fo1wards the answered media towards the UE. "
the third media stream;
                                              And transmitting a fourth media stream from the end user device to the media server via the
                                              application server in response to the third media stream takes place in steps 16-18:

                                              " 16-18. When the resource rese1vation is completed, UE sends the successful Resource
                                              Rese1v ation message to the te1minating endpoint, via the signalling path established by the
                                              INVITE message. The message is sent first to P-CSCF."



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             Issued Claim 1                                                            Identification
[lj] completing the second media              Completing the second media transaction between the media server and the end user device via
transaction between the media server and      the application server using the same media session used for the first media transaction takes
the end user device via the application       place, for example, in steps 16-18:
server using the same media session used
for the first media transaction; and          " 16-18 When the resource rese1vation is completed, UE sends the successful Resource
                                              Rese1v ation message to the te1minating endpoint, via the signalling path established by the
                                              INVITE message. The message is sent first to P-CSCF."

flkl receiving a fourth message from the      Receiving a fourth message from the media se1ver at the application se1ver, the fomih message
media se1ver at the application se1ver, the   indicating that the second media transaction is complete takes place, for example, in steps 19-
fourth message indicating that the second     21:
media transaction is complete.
                                              " 19-2 1. The te1minating end point responds to the originating end when successful resource
                                              rese1v ation has occmTed.

                                              If the SDP has changed, the P-CSCF again authorizes that the resources are allowed to be used."

                                              The fomih message is, for example, the "Rese1vation Conf ' message in step 19 as defined by
                                              the standard.




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